6:21-mj-00120-SPS
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EDOK - Search Warrant (Revised 5/13)




                               United States District Court
                                       EASTERN DISTRICT OF OKLAHOMA
In the Matter of the Search of                                                    SEALED
Geolocation data of devices travelling through
the Eastern District of Oklahoma on 03-18-2021,                                   Case No. 21-MJ-120-SPS
stored by Google LLC, 1600 Amphitheatre
Parkway Mountain View, CA 94043


                                         SEARCH AND SEIZURE WARRANT
TO:           ANY AUTHORIZED LAW ENFORCEMENT OFFICER

        An application by a federal law enforcement office or an attorney for the government request the search of the
following person or property located in the EASTERN District of OKLAHOMA (identify the person or describe the property to be
searched and give its location):


                          SEE ATTACHMENT “A”
              The person or property to be searched, described above, is believed to conceal (identify the person or describe the property to
be seized):
                          SEE ATTACHMENT “B”
         I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property.
                                                                                4/15/2021
              YOU ARE HEREBY COMMANDED to execute this warrant on or before _________________________
                                                                                                           (not to exceed 14 days)
              ☐           in the daytime 6:00 a.m. to 10:00 p.m.
              ☒           at anytime in the day or night as I find reasonable cause has been established

         Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to
the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

         The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to United States Magistrate Judge ______________.

              ☐           I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay of
                          trial), and authorize the officer after executing this warrant to delay notice to the person who, or whose
                          property, will be searched or seized (check):
                          ☐         for __________ days (not to exceed 30).
                          ☐         until, the facts justifying, the later specific date of ___________________________.


Date: April 1, 2021                                                               ___________________________________________
                                                                                                           Judge's signature
                                                                                   STEVEN P. SHREDER
City and state:           Muskogee, Oklahoma
                                                                                  UNITED STATES MAGISTRATE JUDGE
                                                                                  Printed name and title
6:21-mj-00120-SPS
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                                        of 3



                                           ATTACHMENT A

                                        Property To Be Searched

   This warrant is directed to Google LLC and applies to:

   (1)       Location History data, sourced from information including GPS data and information about
             visible wi-fi points and Bluetooth beacons transmitted from devices to Google, reflecting
             devices that Google calculated were or could have been (as indicated by margin of error,
             i.e., “maps display radius”) located within the geographical region bounded by the
             latitudinal and longitudinal coordinates, dates, and times below; and

   (2)       identifying information for Google Accounts associated with the responsive Location
             History data.

         •   Date/Time Period:     03-18-2021 from 21:52 – 21:56 hours (CST)

         •   Target Location:     Geographical area approximately 1000’ by 170’ and identified
             as a polygon defined by the following latitude/longitude coordinates (see below)
                   ▪ 35.80815, -95.07356                ▪ 35.80778, -95.07328
                   ▪ 35.80686, -95.07652                ▪ 35.80645, -95.07627

         •   Time Restriction:     Devices that reported their location more than once within the
             Target Location on the date and during the time period above and where no more
             than three minutes elapsed between the time that the first time the device reported its
             location and the last time that the device reported its location.
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                                            ATTACHMENT B

                                     Particular Items to Be Seized

      I.         Information to be disclosed by Google

            The information described in Attachment A, via the following process:

            1.      Google shall query location history data based on the Initial Search Parameters

   specified in Attachment A. For each location point recorded within the Initial Search Parameters,

   and for each location point recorded outside the Initial Search Parameters where the margin of

   error (i.e., “maps display radius”) would permit the device to be located within the Initial Search

   Parameters, Google shall produce to the Government information specifying the corresponding

   unique device ID, timestamp, location coordinates, display radius, and data source, if available

   (the “Device List”).

            2.      The Government shall review the Device List and identify to Google the devices

   about which it seeks to obtain Google account identifier and basic subscriber information. The

   Government may, at its discretion, identify a subset of the devices.

            3.      Google shall disclose to the Government identifying information, as defined in 18

   U.S.C. § 2703(c)(2), for the Google Accounts associated with each device ID appearing on the

   Device List about which the Government inquires.


      II.        Information to Be Seized

      All information described above in Section I that constitutes evidence of violations of Title 18,

   United States Code Sections 13, 1151, and 1152 as well as a violation of Title 47, Oklahoma

   Statutes, Section 10-102.1 on March 18, 2021 involving unknown person(s).
